       Case 3:16-md-02741-VC Document 17554 Filed 11/30/23 Page 1 of 9




                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA

In Re: ROUNDUP
PRODUCTS LIABILITY LITIGATION                                MDL No. 2741
                                                             Case No. 16-md-02741-VC

This document relates to:
Caton v. Monsanto, Case No. 3:19-cv-07675.

David Randolph Smith
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                                         PLAINTIFFS’ NOTICE OF SUPPLEMENTAL
                                         AUTHORITY IN SUPPORT OF MOTION TO
                                         AMEND/VACATE PRE-TRIAL ORDER 270
                                         AND FOR RELIEF FROM JUDGMENT
                                         PURSUANT TO FRCP 60(b)(5);

                                         Date: January 11, 2024, at 1:00 p.m. (Zoom)
                                         Judge Assigned: Hon. Vince Chhabria
        Case 3:16-md-02741-VC Document 17554 Filed 11/30/23 Page 2 of 9




               PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       As supplemental authority in support of their for Motion to Amend/Vacate Pre-Trial

Order 270 and for Relief from Judgment Pursuant to FRCP 60(b)(5), Plaintiffs respectfully

submit the attached Eleventh Circuit Court of Appeals Opinion issued on November 30, 2023, in

Briona Hubbard v. Best in Town, Inc. dba The Furnace (No. 23-12194, 11th Cir.). In that case

the Court of Appeals reversed the district court’s dismissal of the plaintiffs’ case for failure to

prosecute and obey court orders under Federal Rule of Civil Procedure 41(b).


       In its Opinion, the Eleventh Circuit acknowledged that a trial court may order the

dismissal of a case for failure to comply with a court order “under their inherent power to

manage their dockets.” However, the Court held that a dismissal with prejudice was a “draconian

remedy” remedy that was unwarranted where lesser sanctions would suffice:


       “A dismissal with prejudice is a sanction of last resort, and it is only proper if the
       district court finds both (1) a clear record of delay or willful conduct, and (2) a
       finding that lesser sanctions are inadequate.” Mickles, 887 F.3d at 1280. Although
       we may find “implicit in an order the conclusion that lesser sanctions would not
       suffice . . . we have never suggested that the district court need not make that
       finding, which is essential before a party can be penalized for [her] attorney’s
       conduct.” Mingo v. Sugar Cane Growers Co-Op. of Fla., 864 F.2d 101, 102 (11th
       Cir. 1989) (internal citations and quotations omitted).The record before us does
       not warrant the “draconian remedy of a dismissal with prejudice.” Betty K
       Agencies, Ltd., 432 F.3d at 1339. The oversights, although imperfect, fall short of
       support- ing a clear pattern of delay and willful misconduct. Further, the record
       provides neither explicit nor implicit findings that lesser sanctions are inadequate.
       Both the district court’s initial dismissal and denial of motion for relief fail to
       demonstrate any recognition of the statutory bars that effectively dismissed this
       action with prejudice. Rather, the orders focus upon counsel’s failings and aspects
       of judicial administration, and explicitly dismissed the action as without
       prejudice. We understand the district court’s concerns, and do not foreclose the
       potential availability of other lesser sanctions. Under the circumstances of this
       case, however, such a sanction of last resort is unwarranted. We therefore
       VACATE and REMAND the district court’s dismissal order for further
       proceedings.
       Case 3:16-md-02741-VC Document 17554 Filed 11/30/23 Page 3 of 9




Dated: November 30, 2023.




                                     Respectfully submitted.

                                     /s/ David Randolph Smith
                                         David Randolph Smith
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                                         Counsel for Plaintiffs

                                     CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2023, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF filing system which will send a notice of electronic filing

to all counsel of record who are CM/ECF participants.


                                     /s/ David Randolph Smith
                                       David Randolph Smith
    Case 3:16-md-02741-VC Document 17554 Filed 11/30/23 Page 4 of 9
USCA11 Case: 23-12194 Document: 21-1 Date Filed: 11/30/2023 Page: 1 of 6




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-12194
                          Non-Argument Calendar
                          ____________________

       BRIONA HUBBARD,
                                                     Plaintiﬀ-Appellant,
       versus
       BEST IN TOWN INC.,
       d.b.a. The Furnace,


                                                   Defendant-Appellee.


                          ____________________

                 Appeal from the United States District Court
                    for the Northern District of Alabama
                     D.C. Docket No. 2:22-cv-00399-ACA
    Case 3:16-md-02741-VC Document 17554 Filed 11/30/23 Page 5 of 9
USCA11 Case: 23-12194 Document: 21-1 Date Filed: 11/30/2023 Page: 2 of 6




       2                      Opinion of the Court                 23-12194

                            ____________________

       Before WILSON, ROSENBAUM, and GRANT, Circuit Judges.
       PER CURIAM:
              Briona Hubbard appeals the sua sponte dismissal of her com-
       plaint against Best In Town, Inc. d/b/a The Furnace. After careful
       consideration, we vacate and remand for additional proceedings.
                                         I.
              Hubbard twice sought employment at The Furnace, an ex-
       otic dance club in Birmingham, Alabama, in December 2020 and
       again in March 2021. Twice she was told by The Furnace’s “house
       mom” that the club “has too many Black girls.” Consequently,
       Hubbard filed a charge with the Equal Employment Opportunity
       Commission, which issued a right-to-sue letter on December 29,
       2021. She then sued The Furnace for failure to hire under both
       Title VII of the Civil Rights Act of 1964 and 42 U.S.C. § 1981, alleg-
       ing racial discrimination in violation of each statute. Kira Fon-
       teneau represents Hubbard in her suit.
              The district court scheduled a telephone conference for June
       12, 2023, and sent electronic notification of the order. After counsel
       for both parties failed to dial in, the courtroom deputy spoke with
       someone at Fonteneau’s office who indicated she would try to
       reach Fonteneau. The court scheduled an in-person hearing for
       June 14, 2023, and again sent electronic notification of the order.
       Neither party appeared for the hearing, and the courtroom deputy
       could not reach either party’s counsel. The next day, the court sua
    Case 3:16-md-02741-VC Document 17554 Filed 11/30/23 Page 6 of 9
USCA11 Case: 23-12194 Document: 21-1 Date Filed: 11/30/2023 Page: 3 of 6




       23-12194               Opinion of the Court                         3

       sponte dismissed the action without prejudice for failure to prose-
       cute and obey court orders under Federal Rule of Civil Procedure
       41(b).
               Five days later, Hubbard filed a motion to alter, amend, or
       vacate its judgment under Rule 59(e). The motion apologized for
       Fonteneau’s oversight, explained that temporary support staff had
       failed to properly docket electronic notices from the court, and as-
       sured corrective measures were in place. It urged the court to va-
       cate the judgment to ensure that Hubbard “is not harmed by the
       clerical errors on [Fonteneau’s] part that caused [Fonteneau] not to
       appear as required by the Court.” The district court denied her
       motion as improper under Rule 59(e) and inadequate under Rule
       60(b)(1).
              This appeal followed. Hubbard argues that the district
       court’s dismissal must be construed as with prejudice and unwar-
       ranted as an extreme sanction.
                                        II.
              The district courts may dismiss an action for failure to pros-
       ecute and obey court orders under two sources of authority. The
       Federal Rules provide, “If the plaintiff fails to prosecute or to com-
       ply with . . . a court order, a defendant may move to dismiss the
       action.” Fed. R. Civ. P. 41(b). The courts may also sua sponte dis-
       miss a case under their inherent power to manage their dockets.
       See Link v. Wabash R.R. Co., 370 U.S. 626, 630–31 (1962) (“The au-
       thority of a court to dismiss sua sponte for lack of prosecution has
       generally been considered an ‘inherent power,’ governed not by
    Case 3:16-md-02741-VC Document 17554 Filed 11/30/23 Page 7 of 9
USCA11 Case: 23-12194 Document: 21-1 Date Filed: 11/30/2023 Page: 4 of 6




       4                          Opinion of the Court                        23-12194

       rule or statute but by the control necessarily vested in courts to
       manage their own affairs so as to achieve the orderly and expedi-
       tious disposition of cases.”). Our decisions often “elide this neat
       distinction” between the two sources and allow the court to pro-
       ceed sua sponte under either authority. Betty K Agencies, Ltd. v. M/V
       Monada, 432 F.3d 1333, 1337–38 (11th Cir. 2005) (collecting cases).
       We review dismissals for failure to prosecute and failure to obey
       court rules for abuse of discretion. See id. at 1337; Gratton v. Great
       Am. Commc’ns, 178 F.3d 1373, 1374 (11th Cir. 1999).
              The district court characterized its dismissal as without prej-
       udice. But when “a dismissal without prejudice has the effect of
       precluding a plaintiff from refiling [her] claim due to the running
       of the statute of limitations, the dismissal is tantamount to a dis-
       missal with prejudice.” Mickles v. Country Club, Inc., 887 F.3d 1270,
       1280 (11th Cir. 2018). There are two statutes of limitations at play
       here. For § 1981 failure to hire claims, we apply Alabama’s two-
       year statute of limitations for personal injury claims. See Moore v.
       Liberty Nat’l Life Ins. Co., 267 F.3d 1209, 1219 (11th Cir. 2001). 1 For
       Title VII actions, a plaintiff must file suit within 90 days after receipt

       1 Section 1981 does not have its own statute of limitations.       The applicable
       statute of limitations depends upon the action. Any § 1981 claim made possi-
       ble by the Civil Rights Act of 1991 amendments is governed by 28 U.S.C.
       § 1658’s four-year statute of limitations. See Jones v. R.R. Donnelley & Sons Co.,
       541 U.S. 369, 382 (2004). Any § 1981 claim available prior to the 1991 amend-
       ments is subject to the analogous state statute of limitations for personal injury
       actions. Failure to hire claims were cognizable under § 1981 prior to the 1991
       amendments. See Patterson v. McLean Credit Union, 491 U.S. 164, 182 (1989),
       superseded by 42 U.S.C. § 1981(b) (1991).
    Case 3:16-md-02741-VC Document 17554 Filed 11/30/23 Page 8 of 9
USCA11 Case: 23-12194 Document: 21-1 Date Filed: 11/30/2023 Page: 5 of 6




       23-12194                Opinion of the Court                           5

       of a right-to-sue letter. 42 U.S.C. § 2000e-5(f)(1). Here, the district
       court dismissed Hubbard’s case in June 2023, more than two years
       after the alleged discrimination and nearly a year and a half past the
       issuance of her right-to-sue letter. Because the statutes of limita-
       tions for both § 1981 and Title VII bar Hubbard from refiling her
       failure to hire claims against The Furnace, we treat the district
       court’s dismissal as with prejudice.
                “A dismissal with prejudice is a sanction of last resort, and it
       is only proper if the district court finds both (1) a clear record of
       delay or willful conduct, and (2) a finding that lesser sanctions are
       inadequate.” Mickles, 887 F.3d at 1280. Although we may find “im-
       plicit in an order the conclusion that lesser sanctions would not suf-
       fice . . . we have never suggested that the district court need not
       make that finding, which is essential before a party can be penalized
       for [her] attorney’s conduct.” Mingo v. Sugar Cane Growers Co-Op.
       of Fla., 864 F.2d 101, 102 (11th Cir. 1989) (internal citations and quo-
       tations omitted).
              The record before us does not warrant the “draconian rem-
       edy of a dismissal with prejudice.” Betty K Agencies, Ltd., 432 F.3d
       at 1339. The oversights, although imperfect, fall short of support-
       ing a clear pattern of delay and willful misconduct. Further, the
       record provides neither explicit nor implicit findings that lesser
       sanctions are inadequate. Both the district court’s initial dismissal
       and denial of motion for relief fail to demonstrate any recognition
       of the statutory bars that effectively dismissed this action with prej-
       udice. Rather, the orders focus upon counsel’s failings and aspects
    Case 3:16-md-02741-VC Document 17554 Filed 11/30/23 Page 9 of 9
USCA11 Case: 23-12194 Document: 21-1 Date Filed: 11/30/2023 Page: 6 of 6




       6                      Opinion of the Court                23-12194

       of judicial administration, and explicitly dismissed the action as
       without prejudice. We understand the district court’s concerns,
       and do not foreclose the potential availability of other lesser sanc-
       tions. Under the circumstances of this case, however, such a sanc-
       tion of last resort is unwarranted. We therefore VACATE and
       REMAND the district court’s dismissal order for further proceed-
       ings.
             VACATED AND REMANDED.
